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No. 20-0815

 

IN THE SUPREME COURT OF TEXAS

 

In re
JUAN GERARDO PEREZ PICHARDO AND

THE REPUBLICAN PARTY OF TEXAS,
Relators

 

Chris Hollins, in his official capacity as
Harris County Clerk for Harris County, Texas,
Respondent

 

AFFIDAVIT OF GENEVIEVE MORA

STATE OF TEXAS §
§
COUNTY OF HARRIS §

Before me, the undersigned notary public, personally appeared Genevieve
Mora, who, being duly sworn upon her oath, stated as follows:

“My name is Genevieve Mora. I am over twenty-one (21) years of age, of
sound mind, have never been convicted of a felony, and am fully competent to
make this affidavit. I am a resident and registered voter in Harris County, Texas.
The facts stated herein are true, correct, within my personal knowledge, and made
under penalty of perjury:

“T am currently assigned to work as an Early Voting Election Clerk in Harris

County, Texas, for the November 2020 general election. In particular, since early

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voting began on October 13, 2020, I have worked as an Election Clerk at the Early
Voting location at the Toyota Center, 1500 Leeland Street, Houston, Texas 77002.
The Toyota Center is one of the Early Voting locations that Harris County Clerk
Hollins has designated as a “Drive-thru” voting location for the November 2020
general stiction.

“The so-called ‘drive-thru’ voting has been allowed at the Toyota Center,
outside the building, since early voting began on October 13. The arrangement and
procedures have prevented such voting from complying with requirements under
Texas law for a voting location.

“Everyone is allowed to vote from inside their cars while located outside the
building at the ‘Drive-thru’ voting location. Voters are not asked if they are sick,
have a disability, or are likely to be injured by voting inside the polling location.
Virtually no one who I have seen vote from a car appeared to be sick or disabled.
Many seemed able-bodied and able to walk inside to vote.”

“T have seen people in a car lean over and assist, guide, or instruct another
person in the car to vote, without any declaration or permission to serve as voting
assistants as Texas law requires. It is not possible for people outside the car to
prevent such assistance from happening.

“Voters in cars often use cell phones and cameras to record or broadcast

themselves voting. We are not able to stop them from doing so. I saw a driver who

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was putting the entire voting process on Snapchat Live filming as she was driving
in thru the garage and approached my area. We asked her to put the cell phone
away as she was still filming us (there were two of us there). She laughed and said
we were live on Snapchat. She then addressed her audience that she was about to
vote.:She eventually put up the phone. We processed her in, I was waiting for her
to finish voting and as I looked up at her, she had her cell phone out and was
filming the eSlate. I quickly jumped up and luckily saw she had already hit CAST
BALLOT button and handed me the eSlate machine. She laughed as she drove off
continuing to record herself leaving the drive-thru voting area.

“There is no control over or ability to monitor voters and others conversing
or using cell phones in a car. as there would be in a voting poll in a building. For
instance, one driver decided to make a phone call as she was voting. She did put
her cell down when I asked her to, but with a face mask on, she appeared to
continue talking to someone through the mask using Bluetooth in her car.

“I have seen another Election Clerk hand the eSlate curbside voting
machine (while still connected) to a driver so the driver could pass it over to the
passenger, though no one except the voter should touch the eSlate. After I tried to

stop her and complained, she later said the Deputy Clerk Specialist hired by

County Clerk Hollins told her it was OK for her to hand the eSlate to the driver, if

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the passenger was elderly. She explained the passenger was very old. He looked
perfectly fine to me.

“Other things happen during ‘Drive-Thru’ voting that could not easily
happen at a regular polling location. One clerk had a ‘private’ conversation with a
voter. in a ‘oar and no one could overhear what they were discussing. 1 was
literally a couple of feet from them and I could not hear their conversation. Later
she told me (almost verbatim) what they had discussed. She had asked the voter if
he liked the drive-thru experience. When he agreed, she told him that the
Republicans were trying to shut down the drive thru. She advised him to bring as
many people as he can to vote because this election counts. If I had known they
were discussing politics, I would have interrupted. In a subsequent conversation
with that clerk, I reminded that we are NOT supposed to talk politics while
working the polls. Her response was, ‘I don't see any cameras around here. No one
knows what we're doing.’ This illustrates that, in ‘drive-thru’ voting, it is difficult
or impossible to monitor such private conversations with the voters.

“Multiple voters regularly drive up in one car to vote. Many have not turned
off their vehicles while they stayed in the car. They keep the air conditioner on and
(with the exception of the person voting) all windows rolled up. It is difficult to

see or hear everything going on inside the vehicles in which people are voting.

Also, high-profile vehicles such as trucks and SUVs can be very tall. Even tall

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Election Clerks and poll watchers cannot see inside such vehicles. I’ve witnessed
tall clerks barely see the bottom of the window much less inside these vehicles
with multiple voters inside. We cannot ensure the integrity of the vote if we cannot
see inside the vehicle.

“Tt is hard to see, even if passengers put phones down, whether they actually
turn them off or not. I saw Google displayed on a dashboard screen inside a vehicle
with voters, still on after the driver had turned OFF the vehicle. We cannot see
persons in the back of cars with dark tinted windows, and sometimes cannot even
see if there is anyone in the back until the driver points them out as a voter. In
addition, back seat passengers can easily see the screen of voters in the front seats.

“These are some of the irregularities I have personally observed at the
‘Drive-thru’ voting location. We are at the mercy of the voter to do the right thing,
with little ability to ensure privacy or compliance with the law. As shown above,
among my concerns are no consideration or assurance of voters’ eligibility for
curbside voting; the lack of control of cell phones and other electronic devices
inside vehicles; no control over voters’ behavior and communications while they
are inside their personal vehicles. We are also working outside, and will be unable

to perform our duties properly as the weather gets colder closer to Election Day.”

Further, affiant sayeth not.

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Genevieve Mora
SUBSCRIBED AND SWORN TO before me, the undersigned authority, by the
said Genevieve Mora, on this ae day of October 2020, to certify which witness
my hand and seal of office.

Notary Public, State of Texas

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(Printed or Stamped Name of Notary)

 

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ae e 1D# 96127-6

    

My Commission Expires: 2-22 -2o2S

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